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Pharmacokinetics of N-Nitrosodimethylamine in Beagles
Charles T. Gombar, Harry M. Pylypiw, Jr. and George W. Harrington

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